
688 S.E.2d 22 (2009)
In re Arthur O. ARMSTRONG.
No. 338P09.
Supreme Court of North Carolina.
December 10, 2009.
Arthur O. Armstrong, pro se.
Quentin T. Sumner, Senior Resident Judge, for Sumner, et al.

ORDER
Upon consideration of the petition filed by Appellant (Armstrong) on the 18th of August 2009 in this matter for a writ of mandamus, the following order was entered and is hereby certified to the Superior Court, Nash County:
"Dismissed by order of the Court in Conference this the 10th of December 2009."
Upon consideration of the petition filed by Appellant (Armstrong) on the 21st of August 2009 in this matter for a writ of mandamus, the following order was entered and is hereby certified to the Superior Court, Nash County:
"Dismissed by order of the Court in Conference this the 10th of December 2009."
